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                                            UNITED STATES DISTRICT COURT
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                             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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           12
                 HOMELAND HOUSEWARES, LLC,                      CASE NO. CV12-1104 GAF (JCx)
           13
                                   Plaintiff,                   ORDER FOR DISMISSAL OF
           14                                                   ENTIRE ACTION WITH
                 vs.                                            PREJUDICE PURSUANT TO
           15                                                   STIPULATION OF THE PARTIES
                 CISLO & THOMAS, LLP; DANIEL                    UNDER FEDERAL RULES OF
           16    M. CISLO; MARK D. NIELSEN; and                 CIVIL PROCEDURE, RULE
                 DOES 1 to 50,                                  41(a)(2)
           17
                                   Defendants.
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           20    CISLO & THOMAS, LLP,
           21                      Counterclaimant,
           22              vs.
           23    HOMELAND HOUSEWARES, LLC
                 ,a California limited liability company;
           24    LENNY SANDS, an individual;
                 COLIN SAPIRE, an individual; MICK
           25    HASTIE, an individual;
                 INFOMERCIAL CONSULTING
           26    CORPORATION, a California
                 corporation; TV TRAFFIC, INC., a
           27    California corporation (converted out);
                 CAPITAL BRANDS, LLC, a
LEWI       28    California limited liability company;
S
BRISBOI         4823-0407-6304.1
S                                      ORDER FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
BISGAAR
          Case 2:12-cv-01104-GAF-JC Document 33 Filed 09/05/12 Page 2 of 2 Page ID #:670



            1    BRENTWOOD CORPORATE
                 SERVICES, INC., a dissolved
            2    California corporation;
                 HASTIE2MARKET, LLC, a
            3    California limited liability company;
                 and ROES 1-9, inclusive,
            4
                                   Counter-Defendants.
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            7            Pursuant to the stipulation of the parties in this action under Federal Rules of
            8 Civil Procedure, Rule 41(a)(2), it is hereby ordered and adjudged as follows:

            9            1.        This entire action is hereby dismissed with prejudice.
           10            2.        The Court retains jurisdiction to enforce the terms of the parties’
           11 settlement agreement for this action.

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           14 DATED: September 5, 2012                       By: __________________________
                                                             Hon. Gary A. Feess
           15                                                Judge of the U.S. District Court
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BRISBOI         4823-0407-6304.1                                 2
S                                      ORDER FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
BISGAAR
